Case 1:22-cv-00037-P Document 1-2 Filed 04/13/22 Page1of19 PagelD 31
Case 1:19-cr-00021-P-BU Document 87-2 Filed 08/12/19 Page1of10 PagelD 503

ATTACHMENT B

(Second NCMEC CyberTip Report for “Jenna Lennon”)

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CyberTipline Report 41246384

7 Priority Level: E
(Report submitted by a registered Electronic Service Provider)

Received by NCMEC on 10-05-2018 23:40:50 UTC
All dates are displayed as MM-DD-YYYY
Except for times provided in Additional Information sections, all time zones are displayed in UTC

 

Executive Summary

‘The following is a brief overview of information contained in this CyberTipline report:
Incident Type: Apparent Child Pornography (Unconfirmed)

Tatal Uploaded Files: 2

 

The National Center for Missing & Exploited Children (NCMEC) was incorporated in 1984 by child advocates as a private, non-profit
501(c)(3) organization to serve as a national clearinghouse and resource center for families, victims, private organizations, law
-enforcement, and the public on missing and sexually exploited child issues. To further our mission to help find missing children, reduce
child sexual exploitation, and prevent future victimization, NCMEC operates the CyberTipline and Child Victim Identification Program.
NCMEC makes information submitted to the CyberTipline and Child Victim Identification Program available to law enforcement and
also uses this information to help identify trends and create child safety and prevention messages. As a clearinghouse, NCMEC also
works with Electronic Service Providers, law enforcement and the public in a combined effort to reduce online child sexual abuse
images. NCMEC performs its programs of work pursuant to its own private mission and independent business operations. NCMEC
does not act in the capacity of or under the direction or control of the government or law enforcement agencies. NCMEC does not
investigate and cannot verify the accuracy of the information submitted by reporting parties.

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CyberTipline Report 41246364 | i

 

 

 

 

 

 

Section A: Reported Information 4
Reporting Electronic Service Provider (ESP) 1
Company Information 4
Incident Information 1
User or Person Being Reported 4
Additional Information Submitted by the Reporting ESP 2
Uploaded File Information 2
Uploaded File Information 2
Uploaded File Information 2

Section B: Automated Information Added by NCMEC Systems 4
Explanation of Automated Information (in alphabetical order) 4

Further Information ori Uploaded Files 4
Geo-Lookup (Reported Person or User) 4.

Section C: Additional Information Provided by NCMEC
NCMEC Note #1 6

Section D: Law Enforcement Contact Information i

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Dallas Police Department

 

This Report is provided solely for informational purposes pursuant to NCMEC's nonprofit mission.

Please treat all information in this Report as confidential.

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Section A: Reported Information

 

The following information was submitted to the CyberTipline by the Reporting Person or Reporting ESP. The information appearing in
| Section A is information received in the original submission. The reporting of information in Section A, other than the "Incident Type"
land "Incident Time," is voluntary and undertaken at the initiative of the Reporting Person or Reporting ESP.

 

 

 

   

Reporting Electronic S

 

* Submitter Point of Contact for Law Enforcement:

Google USlawenforcement@google.com

Google Reviewer
http:/Awww.google.com/transparencyreport/userdatarequest

Business Address: s/legalprocess/
1600 Ampitheater Parkway
Mountainview, CA 94043 United States

 

Google identifies and reports child sexual abuse imagery in accordance with federal statutory definition of child pornography as
referenced in 18 USC 2256. ‘

Generally, if a report does not contain an upload IP, it may be because Google does not have the information accessible at the time of
the report. To the extent that Google does have a record of the upload IP, it can be disclosed in response to valid legal process.

Account information such as IP addresses and user provided information (such as SMS number or secondary e-mail address) may
change over time and/or reflect user provided data that may be inaccurate. This information should be investigated and confirmed

independently.
Any account reported in this Cybertip may or may not be disabled in the course of making the report.

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For information on which legal process is required for various types of data associated with Google's products and services, please
refer to our Transparency Report available here http://www.google.com/transparencyreport/userdatarequests/legalprocess/.

If you intend to seek additional data from Google, please reference this and any related CyberTip number(s) prominently in your legal

process.

With respect to the portion of this CyberTip containing the heading: "Was File Reviewed by Company?", when Google responds "Yes" it
means the contents of the file reported were viewed by a person concurrently to or immediately preceding the sending of the CyberTip.
When Google responds "No", it means that while the contents of the file were not reviewed concurrently to making the report,
historically a person had reviewed a file whose hash (or digital fingerprint) matched the hash of the reported image and determined it

contained apparent child pornography.

 

Incident Type: Child Pornography (possession, manufacture, and distribution)
Incident Time: 10-05-2018 16:36:38 UTC
Description of Incident Time: The incident date refers to the approximate date and time Google became aware of the

reported material. :

 

This Report is provided solely for informational purposes pursuant to NCMEC's nonprotit mission.
Please treat all information in this Report as confidential

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Name: Jenna Lennon
Mobile Phone: +12143041426
Email Address:

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CyberTipline Report 41246384 | 2

   

jenmalennon12@gmail.com (Verified)

IP Address: 74.197.212.233 (Login)
09-22-2018 23:34:07 UTC
{P Address: 74.195.103.48 (Login)
09-19-2018 02:22:29 UTC
IP Address: 74.195.103.48 (Login)
09-19-2018 02:20:31 UTC
IP Address: 74.195.103.48 (Login)
09-19-2018 02:20:24 UTC
IP Address: 74.195.103.48 (Login)
09-19-2018 02:20:23 UTC
IP Address: 74.195.103.48 (Login)
09-1 $-201 8 02:20:21 UTC
iP Address: 74.195.103.48 (Registration)

09-19-2018 02:20:20 UTC

 

Number of uploaded files: 2

 

Filename:

Original Filename Associated with File:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?

Image Categorization by ESP:
(See Section B for further explanation)

report_12424332082657457698
7830257733441774180?account_id=42
Yes

(Information Not Provided by Company)
(Information Not Provided by Company)
B1

 

Filename:

Original Filename Associated with File:

Did Reporting ESP view entire contents of uploaded file?
Did Reporting ESP view the EXIF of uploaded file?
Were entire contents of uploaded file publicly available?
Metadata provided separately by ESP for the file?

report_7317981 145297882912
6046472664266037546?account_id=42

Yes
(Information Not Provided by Company)
(Information Not Provided by Company)
Yes

 

This Report is provided solely for informational purposes pursuanl to NCMEC's nonprofit mission.
Please treat all information in this Report as confidential

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CyberTipline Report 41246384 | 3

 

Image Categorization by ESP: B2
(See Section B for further expianation)

This concludes Section A. All of the information in this section was submitted electronically to the CyberTipline by the Reporting Person,
NCMEC Call Center or Reporting ESP. The information appearing in Section A is information received in the original submission. The
reporting of information in Section A, other than the "Incident Type" and “Incident Time,” is voluntary and undertaken at the initiative of

the Reporting Person or Reporting ESP.

 

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Please treat all information in this Report as confidential

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Case 1:22-cv-00037-P Document 1-2 Filed 04/13/22 Page
Case 1:19-cr-00021-P-BU Document 87-2 Filed 08/12/19 Page

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Section B: Automated Information Added by NCMEC Systems

 

 

Upon receipt of a CyberTipline report, NCMEC Systems may conduct automated processes on the information submitted in Section A.
The information found in Section B of this CyberTipline Report has been automatically generated by NCMEC Systems. If the
CyberTipline Report was submitted by a member of the public, Section B will be blank.

 

 

 

 

Geo-Lookup: When a Reporting ESP voluntarily reports an IP address for the "User or Person Being Reported," NCMEC Systems will
geographically resolve the IP address via a publicly-available online query. The results of this lookup are displayed.

 

Number of uploaded files in each categorization category:

B1: 1
B2: 1

The following categorization system was created by various ESPs in January 2014:

 

 

 

 

 

 

1 Sex Act Any image of sexually explicit conduct (actual or simulated sexual
intercourse including genital-genital, oral-genital, anal-genital, or oral-anal
whether between person of the same or opposite sex), bestiality,
masturbation, sadistic or masochistic abuse, degradation, or any such
depiction that lacks serious literary, artistic, political, or scientific value.

 

2 Lascivious Exhibition Any image depicting nudity and one or more of: restraint, sexually
suggestive poses, focus on genitals, inappropriate touching, adult arousal,
spreading of limbs or genitals, and such depiction lacks serious literary,
artistic, political, or scientific value.

 

 

 

 

 

 

BSS aM

IP Address Country Region City Metro Area Postal Area Lat/Long ISP/Org
Code Code
74.195.103.48 US TX Big Spring Odessa- 79720 32.1864/ - Suddenlink
Midland 101.451 Communications/
Suddenlink
Communications
74.197.212.233 us TX Big Spring Odessa- 79720 32.1864/ - Suddenlink
Midland 101.451 Communications/
Suddenlink
Communications

 

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20-10198.277
Case 1:22-cv-00037-P Document 1-2 Filed 04/13/22 Page8of19 PagelD 38
Case 1:19-cr-00021-P-BU Document 87-2 Filed 08/12/19 Page 8of10 PagelD 510

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This concludes Section B

 

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Case 1:22-cv-00037-P Document 1-2 Filed 04/13/22 Page9of19 PagelD 39
Case 1:19-cr-00021-P-BU Document 87-2. Filed 08/12/19 Page 9of10 PagelD 511

CyberTipline Report 41246384 i 6

  

Section C: Additional Information Provided by NCMEC

 

Section C contains information collected by NCMEC staff based on the information electronically submitted b

NCMEC Call Center or Reporting ESP. Section C may contain
on publicly-available, open-source websites. Any queries conducted by NCMEC staff will be documented and an
saved to the electronic filing system when possible. The CyberTipline cannot con
records or whether the results are affiliated with any parties relating to this report.

 

E (Report submitted by a registered Electronic Service Provider)

NCMEC Priority Level:
Apparent Child Pornography (Unconfirmed)

NCMEC Classification
International Country: United States

NCMEC Date Processed: 10-24-2018 20:15:37 UTC
Made Available to Law Enforcement by NCMEC: Yes

Associated CyberTipline Reports: 40898164

/ | NOMEC Note #1

    

ECD-CLT 10-24-20 18 20:15:37 UTC

There are multiple reports on this reported person or user. Please see CT #40898164 for all analysis.

This concludes Section C

 

If you need further information regarding the contents of this Report, please contact the CyberTipline at null or 1-877-446-2632, ext. |

6702.

Fer more information regarding images containing identified child victims, please contact the Child Victim Identification Program

(CVIP) at cvip@ncmec.org. |

 

| This report contains ESP provided metadata information for one or more uploaded files.

For reports received through IDS, any metadata information provided separately by the ESP may be viewed by accessing

‘Case Information' and viewing the 'Raw CyberTip Details’ of the report.

For reports received through the CyberTip Downloader, any metadata information provided separately by the ESP may be viewed by
accessing the ‘Report Summary’ Page and clicking on ‘Uploaded by ESP". Files with metadata information provided separately by the
ESP will display ‘Metadata’ with a 'View' option. Clicking on 'View' will display the available metadata in a new window.

Additionally, metadata information provided Separately by the ESP may be viewed by accessing the XML file and viewing the

espMetadata section of the report.

 

 

 

 

 

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20-10198.279
Case 1:22-cv-00037-P Document 1-2 Filed 04/13/22 Page 10o0f19 PagelD 40
Case 1:19-cr-00021-P-BU Document 87-2 Filed 08/12/19 Page 10of10 PagelD 512

 

CyberTipline Report 41246384 | 7

 

 

 

The report was made available to the Law Enforcement Agency listed below.

 

 

‘Dallas Police Department ”

   

Investigator:
Assigned Officer: ACCESS VPN
Title: Det. Chris DeLeon
City/State: Dallas, TX
Country: United States
Phone Number: 214-671-3698
Email Address: Christopher.DeLeon@dpd.ci.dallas.tx.us, Eric. Weast@dpd.ci.dallas.tx.us,Laura.Burk@dpd.ci.d

allas.tx.us, Catherine.delapaz@dallascityhall.com, Daniel. Hinton@dpd.ci.dallas.tx.us -

Time/Date was made available: 10-24-2018 20:15:37 UTC

This concludes Section D

This concludes CyberTipline Report 41246384

 

This Report is provided solely for informational purposes pursuant to NCMEC's nonprofit mission
Please treat all information in this Report as confidential

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THE STATE OF TEXAS § DOCKET # q | Y NS ;
§ EXHIBIT
COUNTY OF HOWARD |. § COURT:  ¥ 1

AFFIDAVIT FOR SEARCH WARRANT
{Article 18.02(10), Texas Code of Criminal Procedure}

 

BEFORE ME, THE UNDERSIGNED AUTHORITY, PERSONALLY APPEARED THE
AFFIANT HEREIN, A PEACE OFFICER UNDER THE LAWS OF TEXAS, WHO, BEING
DULY SWORN, ON OATH MADE THE FOLLOWING STATEMENTS:

My name is Marcus Thomas. | am a peace officer under the laws of the State of
Texas, and | am a commissioned peace officer certified by the Texas Commission on Law
Enforcement Education (“‘TCOLE”). | have been a licensed and commissioned peace
officer for more than twenty-one years and | am currently employed as a Investigations
Sergeant with the Howard County Sheriff's Office. Your Affiant, through his experience and
training, has investigated numerous felony criminal offenses to include but not limited to:
Murder, Aggravated Assault, Arson, Forgery, Misapplication of Fiduciary Property,
indecency With a Child, Aggravated Sexual Assault of A Child, and Possession of Child

Pornography.

1. There is, within the city limits of Big Spring, in Howard County, Texas, a suspected place
and premises described and located as follows: a residential home with the physical
property address of: 1516 Tucson St. Big Spring Texas 79720.This suspected place is
described as a gray wood with tan brick home and white colored trim. The front door of the
suspected residence faces to the East. There are no visible numbers on the front of the
residence. This residence sits between two other residents. The residents to the west is
numbered 1514 and the residents to the east is numbered 1518 making this residence

116,

Said suspected place, in addition to the foregoing description, also includes all other
buildings, structures, vehicles, and places, which are located on said premises and within
the curtilage, of said premises is a residence, that are found to be under the control of the
suspect named below and in, on, or around which said suspect may reasonably reposit or
secrete property that is the object of the search requested herein.

Attached hereto as Exhibit A, to be considered as part of this affidavit as if written herein, is
a photograph illustrating the appearance of the place to be searched.

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_ Case 1:19-cr-00021-P-BU Document 106 *SEALED* Filed 09/09/19 Page 32 of 38 PagelD 697

AFFIDAVIT FOR SEARCH WARRANT

 

2. Said suspected place is in the charge of and controlled by each of the following named
and/or described individuals ( whether one or more), to wit: 2 8

Christopher James Regan, a white male who was born on or about 42208- 1892.

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Occupant of Residence. Ss “Ty
Tanya Marie Regan, white female who was born on or about 09-28- 1984: = =
Occupant of Residence. on tr
= FT
= MI

3. It is the belief of affiant that said address 1516 Tucson, Big Spring, 1X. 78720 is the
location where both IP addresses 74.197.212.233 and 74.195.103.48 were attached to
during the time of the child pornography pictures. One or more cellular phones used under
the phone numbers 214-304-1426 or 214-304-1541, cellular telephone accessories; both
persons listed in #2 of this search warrant, video camera, recorded and stored video
camera recordings including any recordings from a security monitoring system, any and all
personal computers and electronic storage devices capable of receiving or storing electrical
data, including any external storage devices such as, but not limited to floppy discs and
diskettes (including Zip discs and cartridges), digital video discs (DVD's), compact discs
(CD's), flash drives (“thumb drives”), external hard drives, tape drives, digital video
recorders (including TiVo), internet appliances, video game consoles (including Nintendo
Wii), MP3 players (including Apple iPOD), digital cameras and digital camera memory
media, magnetic tapes and disks, personal digital assistants (PDA’ S), tape recordings, and

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AFFIDAVIT FOR SEARCH WARRANT

audio tapes; the hardware necessary to retrieve such data, including, but not limited to,
central processing units (CPU's), connecting devices, viewing screens, disc and cartridge
drives, tape drives, printers, and monitors; the manuals, with all software, handwritten
notes, or printed materials describing the operation of said computers, hardware and
software; and, any and all passwords found at the location that may allow access to any of
the aforementioned devices and equipment; and any notes, papers, photographs, official

documents.

4. Affiant has probable cause for said belief by reason of the following facts and
circumstances:

On Thursday November 1, 2018 Sgt. Thomas received an email from Detective Delapaz
who is with the Dallas Police Department. Detective Delapaz stated she had received a
cyber tip from the National Centers for Missing and Exploited Children (NCMEC) for child
pornography. The Cyber Tip contained three (3) photographs of a prepubescent nude
female child. One of the photos is of a child sticking her finger in her vagina. Cyber Tip
#41246384 and Cyber Tip #40898164 were emailed to Sgt. Thomas. The tip's were
reported to NCMEC from Google which is an American multinational technology company
headquartered in California. Google became aware of the reported content which was
stored in Google Photos infrastructure and attached to the following information:

Name: Jenna Lennon

Mobile Phone: 214-304-1426
Email: jennalennont12@qmail.com
IP Address: 74.197.212.233

IP Address: 74.195.103.48
The tip showed the IP Addresses to be from Suddenlink Communications and to be in the

City of Big Spring. On November 6, 2018 Sgt. Thomas sent a Subpoena to Suddenlink 542
Gilbert Drive Milpitas, CA 95035 for IP addresses 74.197.212.233 and 74.195.103.48
between the dates of September 16, 2018 to September 30, 2018. Sgt. Thomas received
information from Yaana Technologies who is a designated agent for Suddenlink
Communications. The IP address 74.195.103.48 was being used at 1516 Tucson St. Big
Spring, TX. 79720 from 09-16-2018 to 09-30-2018 and IP address 74.197.212.233 was
being used at 1516 Tucson St. Big Spring, TX. 79720 from 9-19-2018 to 9-30-2018. The
subscriber information for Suddenlink shows a male subject Christopher J. Regan. Sgt.
Thomas obtained information on two adult subjects pertaining to the residents.
Christopher James Regan, W/M DOB: 12-08-1982

Tanya Marie Regan, W/F DOB: 09-28-1984

Sgt. Thomas also obtained information that there is possibly a young female child living in

the residence.

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Affiant requests authority from the Court to transport, remove, or take any property or
evidence seized pursuant to the warrant requested herein to any location deemed
necessary for purposes of safekeeping, analysis, processing, and completion of any
investigation or proceedings related to the activities described in this Affidavit.

Wherefore, affiant asks for issuance of a warrant that will authorize affiant and other peace

officers to search said suspected place and premises for the property described above and
to seize same.

SH. Feo

/Affiant a

SWORN TO AND $ pO Erne ME BY THE SAID AFFIANT ON THIS THE
2P_ DAY OF OVE , 2018. .

kathryn Wiseman

County Judge
Howard County, Texas

 

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CERTIFIED COPY CERTIFICATE —» am F~
STATE OF TEXAS = YY
COUNTY OF HOWARD = cc
The above is a full, true, and correct photographie copy of the original 2 ES nm -
record now In my lawful custody and possession, as the same a8 =
recorded in the Official Public Records in my office, | hareby cartify as op
BRENT Z{TTERKOPF
COUNTY CLERK
HOWARD COUNTY, TEXAS
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. SEARCH WARRANT

 
  

 

 
 
 

THE STATE OF TEXAS §  DOCKET# ss =
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COUNTY OF HOWARD § COURT: z S oon
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SEARCH WARRANT e © = tt
{Article 18.02(10), Texas Code of Criminal Procedure} mS ~

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The State of Texas: To the Sheriff or any Peace Officer of Sutton County, Texas, or any
Peace Officer of the State of Texas:

Whereas | have been presented an affidavit requesting issuance of a search warrant by
affiant Marcus Thomas who is a peace officer under the laws of Texas and heretofore
this day subscribe and swear to said affidavit before me, and whereas | find that the
verified facts stated by affiant in said affidavit show that affiant has probable cause for
the belief he expresses therein; and, whereas | believe said affidavit properly
establishes grounds for issuance of this Warrant.

Now, therefore, you are commanded to enter the suspected place, and premises
described in said affidavit, to-wit: There is, within the city limits of Big Spring, in Howard
County, Texas, a suspected place and premises described and located as follows: a
residential home with the physical property address of: 1516 Tucson St. Big Spring, TX.
79720. This’suspected place is described as a gray wood with tan brick home and white
colored trim. The front door of the suspected residence faces to the East. There are no
visible numbers on the front of the residence. This residence sits between two other
residents. The resident to the west is numbered 1514 and the resident to the east is
numbered 1518 making this residence 1516.

Said suspected place, in addition to the foregoing description, also includes all other
buildings, structures, and places, which are located on said premises and within the
curtilage, if said premises is a residence, that are found to be under the control of the
suspect named below and in, on, or around which said suspect may reasonably reposit
or secrete property that is the object of the search requested herein.

Said suspected place is in the charge of and controlled by each of the following named
and/or described individuals ( whether one or more), to wit:
Christopher James Regan, a white male who was born on or about 12-08-1982-

Occupant of Residence.
Tanya Marie Regan, white female who was born on or about 09-28-1984-

Occupant of Residence.
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It is the belief of affiant that said address 1516 Tucson, Big Spring, TX. 79720 is the
location where both IP addresses 74.197.212.233 and 74.195.103.48 were attached to
during the time of the child pornography pictures. One or more cellular phones used
under the phone numbers 214-304-1426 or 214-304-1541, cellular telephone
accessories; both persons listed in #2 of this search warrant, video camera, recorded
and stored video camera recordings including any recordings from a security monitoring
system, any and all personal computers and electronic storage devices capable of
receiving or storing electrical data, including any external storage devices such as, but
not limited to floppy discs and diskettes (including Zip discs and cartridges), digital video
discs (DVD's), compact discs (CD's), flash drives (“thumb drives”), external hard drives,
tape drives, digital video recorders (including TiVo), internet appliances, video game
consoles (including Nintendo Wii), MP3 players (including Apple iPOD), digital cameras

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‘and digital camera memory media, magnetic tapes and disks, personal digital assistants

(PDA's), tape recordings, and audio tapes; the hardware necessary to retrieve such
data, including, but not limited to, central processing units (CPU’s), connecting devices,
viewing screens, disc and cartridge drives, tape drives, printers, and monitors; the
manuals, with all software, handwritten notes, or printed materials describing the
operation of said computers, hardware and software; and, any and all passwords found
at the location that may allow access to any of the aforementioned devices and
equipment; and any notes, papers, photographs, official documents.

FURTHER, you are ORDERED, pursuant to provisions of Article 18.10, Texas Code of
Criminal Procedure, to seize any evidence related to the commission of the offenses of
Possession of Child Pornography as described within the Affidavit and retain custody of
any property seized pursuant to this Warrant and to subsequently conduct an
authorized subsequent search of the cellular telephones, computers, and other storage

devices.

It is further ordered that any and all property seized by authority of this Warrant or
during the execution thereof shall be and remain under the care, custody, and control of
any peace officer to whom this Warrant is delivered for execution. Further, said
property may be removed and taken to any location as deemed necessary by such
peace officer for purposes of safekeeping, evaluating, testing, and for the completion of
any investigation or proceedings related to the activities described in the Affidavit upon
which the foregoing Warrant was issued.

Herein fail not, but have you then and there this Warrant to be executed without delay;
and upon compliance with the orders herein, make return forthwith showing how you

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Case 1:19-cr- -00021- P-BU _Document 106 *SEALED*. Filed 09/09/19 Page 37 of 38 _PagelD 702—
_- SEARCH WARRANT me

have executed same within three days of the date shown below, exclusive of said date
-_____and-the day of its execution.— - sane ——

Herein fail not, but have you then and there this Warrant to be executed without delay;
and upon compliance with the orders herein, make return forthwith showing how you
have executed same within three days of the date shown below, exclusive of said date
and the day of its execution.

fe - Ma,
Issued this the of day of MV Wel , 2018, at TAF o'clock 2. M.,

to certify which witness my hand this day.

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tel. Wisgman
County ee
Howard County, Texas

 

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STATE OF TEXAS oo
COUNTY OF HOWARD &

The above Is a full, true, and correct photographic copy of the original
record now in my lawful custody and possession, as the same as
recorded in the Official Public Records in my office. | hereby certify as

BRENT ZITTERKOPF
COUNTY CLERK
HOWARD COUNTY, TEXAS

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A flee In the Howard Page 3 of 3

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Case 1:22-cv-00037-P Document 1-2 Filed 04/13/22 Page18o0f19 PagelD 48
Filed 09/09/19 Page 38 of 38 PagelD 703

Case 1:19-cr-00021-P-BU Document 106 *SEALED*

DOCKET# ry Y =.

 

THE STATE OF TEXAS X
COUNTY OF HOWARD \( COURT: County %
y EXHIBIT
OFFICER’S RETURN AND INVENTORY 3

SEARCH WARRANT

 

BEFORE ME, THE UNDERSIGNED AUTHORITY, PERSONALLY APPEARED THE AFFIANT HEREIN, A PEACE
OFFICER UNDER THE LAWS OF TEXAS, WHO, BEING DULY SWORN, ON OATH MADE THE FOLLOWING

STATEMENTS:

My name is Marcus Thomas and [ am commissioned as a peace officer by the Howard County Sheriffs Office Criminal
Investigation Division. The attached Search Warrant came to hand on the day it was issued and it was executed on the 9" day of
November, 2018 by conducting the search directed therein and by seizing during such search the following described property:

Blue HP Laptop, Gray HP Laptop, Tablet, Purple HP Laptop, Midjland Camo game camera, Samsung Phone, Pink Tablet

Gray I-Pad, 6-SD Cards, 3- Jump Drives, 6- DVD's, Black Motorola droid, Samsung Galaxy X4, Alcatel one touch, Samsung
tablet w/ scratched serial number, Samsung tablet S/N: RS2GCDJY6RW, gray IPAD S/N: FOFNXO04MFPFL, pink Samsung
Galaxy, 7- SD cards, 6- USB drives, Samsung Galaxy Note , Black Toshiba, Silver Toshiba, black Dell S/N:CJSPPQ2, black Deli

S/N: 6C4BBL2

 

Afi

SWORN TO AND SUBSCRIBED BEFORE ME BY SAID AFFIANT ON THIS THE ___/ Fae OF M tinue j

2018.
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HOWARD/COUNTY, TEXAS

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CERTIFIED COPY CERTIFICATE
STATE OF TEXAS
COUNTY OF HOWARD
The above is a full, true, and correct photographic copy of the original ~ eS
record now in my lawful custody and possession, as the ane as 5 a ss
recorded in the Official Public Records In my office, | hereby certify as "snr =
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BRENT ZITTERKOPF Be Se
COUNTY CLERK apt
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Case 1:19-cr-00021-P-BU Document 197. Filed 04/08/20 Page 15 of 33 PagelD 1406"

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Furthermore, Christopher Regan identifies no comparable cases
to justify his request for such a massive downward variance
from the guideline range.

In fact, the only basis for a downward variance that
Mr. Regan identifies in his motion is the psychological
evaluation with Dr. Jason Dunham. This estimates -- this
evaluation estimates Mr. Regan's "Level of risk for sexual
re-offense is within the high range." The Court does not
believe that a psychologist's conclusion that Regan poses a
high risk for committing.more sex crimes against children is a
valid ground for reducing his sentence.

The only way for the Court to support a downward
variance in this case is through an extraordinary
justification. The Court finds no such justification exists
in this case to support any downward variance, let alone three
quarters of a reduction in his sentence. Christopher Regan's
conduct was unspeakable, his victims were numerous, his case
involves virtually no mitigating factors and his own
psychological evaluation confirms that he poses a high risk
for sexual re-offending. Therefore, the Court hereby denies
Christopher Regan's motion for downward departure or variance.

With the Court's ruling on the motion for downward
departure and variance, as well as those that I've just stated
previously with regard to the defendant's objections, I will

adopt the final findings of fact and statements of fact made

 

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